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 Via ECF                                                        April 12, 2023

     Hon. Robert B. Kugler
     United States District Court
      for the District of New Jersey
     U.S. Courthouse
     4th & Cooper Streets
     Camden, NJ 08101

           Re: In re Valsartan, Losartan, & Irbesartan Prods. Liab. Litig., 19-md-2875 (D.N.J.)

 Dear Judge Kugler:

 Plaintiffs respectfully submit this letter setting forth their trial and scheduling proposal. See
 3/29/23 Tr. at 34:1 – 36:8.

 Per Your Honor’s instruction at the March 29 case management conference, the parties conferred
 via telephone on April 3, 2023, and exchanged letters on April 5, 10, and 11. See Exs. A-C hereto.
 The parties were able to reach agreement in some respects (as set forth more fully below), but not
 all.

 The most significant impasse relates to the proposed trial plan. Defendants claim they cannot
 fathom any combination of subclasses for trial. Therefore, Defendants have not contributed any
 input on a proposed trial plan. See Exs. A & C. 1


 1
   Defendants cite two reasons for their inability to comprehend how any class trial could ever
 proceed (here or anywhere else): claim-splitting and manageability. Claim-splitting is
 inapplicable. That doctrine only applies to a single plaintiff simultaneously bringing two actions
 against the same defendant, the remedy for which usually is the dismissal of one action or the
 consolidation of the two actions. See Pa. v. Navient Corp., 967 F.3d 273, 286 (3d Cir. 2000).
 Here, the JPML already has consolidated all nationwide actions. The issue here relates to the
 Court’s ability to try distinct claims or issues, consistent with the Federal Rules (see Fed. R. Civ.
 P. 21 & 42(b)), MDL guidance (see MANAGING RELATED PROPOSED CLASS ACTIONS IN
 MULTIDISTRICT LITIGATION (Fed. Jud. Ctr. 2018); MANUAL FOR COMPLEX LITIG. (FOURTH),
 § 21.23), and Defendants’ own prior representations (see DEC 3/9/2020 Ltr. to Ct. (ECF 393)
 (“Any Defendant-specific issues related to certification could still be addressed in this
 context…[S]hould certification be granted, Plaintiffs could still seek to sever a specific subclass
 or issue class for a discrete trial.”)). As to manageability, this Court has repeatedly indicated it is
 undaunted by the work posed by a trial. See, e.g., 3/29/23 Tr. at 17:8 – 18:12 (“…I’m not at all
 concerned about the complexity of this case….”).
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 Plaintiffs set forth their position below, noting the parties’ agreement where Plaintiffs believe it
 exists.

     1. Trial Plan. Plaintiffs’ position is based on the Court’s prior guidance, taking into account
        the broad discretion, particularly of MDL courts, when it comes to trial management. While
        Plaintiffs believe that it would be fully appropriate and manageable to try broader sets of
        claims in accordance with the state law groupings presented at class certification (to be
        modified per the Court’s class certification order), out of deference to the Court’s prior
        guidance, Plaintiffs propose that the first trial be brought on behalf of the same parties that
        Plaintiffs and Defendants were working up for trial when class certification was granted.
        That is, the named parties would remain MSP vis-à-vis its two assignors EmblemHealth
        and SummaCare, and the Defendants would be ZHP, Teva, and Torrent. The trial would
        include the following certified TPP subclasses or such fewer subclasses or claims as the
        Court may direct, each of which include MSP vis-à-vis its assignors EmblemHealth and
        SummaCare:

            •   TPP Breach of Express Warranty Subclass Group b 2
            •   TPP Breach of Implied Warranty Subclass Group d 3
            •   TPP Fraud Subclass Group c 4
            •   TPP State Consumer Protection Laws Subclass Group a 5


 2
  A breach of express warranty subclass of all TPPs that, from at least January 1, 2012 through the
 date of final recall as of November 10, 2021, paid any amount of money in Alabama, Arkansas,
 Florida, Georgia, Mississippi, Montana, Nebraska, Nevada, New Hampshire, New York, North
 Carolina, Ohio, Oregon, Rhode Island, South Carolina, Texas, Utah, Vermont, Wisconsin, or
 Wyoming for a valsartan-containing drug (intended for personal or household use) that was
 manufactured by [ZHP, Teva, or Torrent].
 3
  A breach of implied warranty subclass of all TPPs that, from at least January 1, 2012 through the
 date of final recall as of November 10, 2021, paid any amount of money in Alabama, Ohio, Oregon,
 New York, Tennessee, Utah, or Vermont for a valsartan-containing drug (intended for personal or
 household use) that was manufactured by [ZHP, Teva, or Torrent].
 4
  A fraud subclass of all TPPs, from at least January 1, 2012 through the date of final recall as of
 November 10, 2021, paid any amount of money in Alaska, Arkansas, Colorado, District of
 Columbia, Florida, Idaho, Iowa, Louisiana, Massachusetts, Minnesota, New Jersey, New York,
 North Carolina, North Dakota, Ohio, Oklahoma, Rhode Island, South Dakota, Vermont, Virginia,
 Washington, Wyoming, or Puerto Rico for a valsartan-containing drug (intended for personal or
 household use) that was manufactured by [ZHP, Teva, or Torrent].
 5
  A violation of state consumer protection laws subclass of all TPPs that, from at least January 1,
 2012 through the date of final recall as of November 10, 2021, paid any amount of money in
 Alaska, Arizona, California, Connecticut, Florida, Hawaii, Illinois, Louisiana, Missouri, Nebraska,
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        Defendants’ rehashed fears about how hard it will be to instruct a jury on various states’
        laws (see Ex. C at 2, lamenting instructions “on the laws of 43 separate jurisdictions”) are
        wholly unsupported (after all, the subclass groupings already go a long way to organizing
        substantially similar claims) and contrary to this Court’s statements at the March 29
        conference. Defendants’ plea that a subclass trial “against ZHP, Teva, and Torrent only
        contradicts the certification order,” id., makes no sense, as the Court obviously can try
        certified claims against less than all parties, and on less than all claims, in an initial trial.
        See supra n.1.

        Plaintiffs believe a trial date in mid-to-late Fall can be set based on the Court’s existing
        trial calendar, and far enough out to ensure class notice can be disseminated beforehand.
        Once that is done, the parties can suggest intervening dates leading up to trial for pre-trial
        motions and submissions, such as proposed jury instructions, motions in limine, etc.

    2. Class Notice Program. The parties agree that Plaintiffs should submit a proposed class
       notice plan and form of notice by May 10, 2023; Defendants may submit their responses
       and objections by June 7, 2023; and Plaintiffs may reply by June 28, 2023. (Plaintiffs are
       willing for responses and replies to be submitted sooner, viz.., by May 24 and June 7).

    3. Rule 702 Briefing. The parties agree that Rule 702 briefing will continue in accordance
       with Case Management Order No. 31, under which the “[d]eadline for opposition briefs to
       the motions to preclude under Rule 702 reports of liability experts” is April 11, 2023, and
       the “[d]eadline for reply briefs in support of motions to preclude under Rule 702 reports of
       liability experts” is April 25, 2023. Rulings on Rule 702 motions should be held in
       abeyance until the Rule 23(f) petition has been decided.

    4. Damages Expert Reports and Depositions. Plaintiffs already submitted a liability
       damages report from Dr. Rena Conti to Defendants on February 3, 2023 that already
       provides specific break-downs for MSP’s two assignors, EmblemHealth and SummaCare,
       and the certified subclasses as a whole, for the claims against ZHP, Teva, and Torrent
       arising from ZHP contaminated API. Therefore, Plaintiffs do not believe another round of
       damages expert reports are necessary. Defendants should submit their own damages expert
       report that responds to Dr. Conti’s current report; then depose Dr. Conti on her current
       report (which Defendants have had for months); Defendants’ expert can be deposed; and
       the parties can file Daubert briefing if necessary.

    5. Class Representative Discovery. The parties agree that MSP will continue its rolling
       production and complete it on or before May 3, 2023. Plaintiffs are not sure what, if any,
       discovery is necessary or appropriate from MADA, but Plaintiffs are willing to reserve

 New Hampshire, New York, North Carolina, North Dakota, Oklahoma, Oregon, Pennsylvania, or
 Washington that was manufactured by [ZHP, Teva, or Torrent].
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        their objections until Defendants’ submission of supplemental document requests by May
        10, 2023, and agree Defendants may serve same at that time.

    6. Retailer Discovery. Plaintiffs envision two additional areas of discovery of Retailer
       Defendants, one which should occur immediately, the other which can trail.
        The first area relates to the certified class claims. Retailers should produce forthwith (i) the
        amounts paid by TPPs for VCDs, (ii) Retailers’ cost/profits data for VCDs, and (iii)
        identifying information for consumer class members. As discussed in the parties’ class
        certification briefing, Magistrate Judge Schneider earlier denied without prejudice (see
        7/7/2020 Order, ECF 507) these items. Now that subclasses have been certified, it is
        appropriate for Retailers to produce data showing the amounts paid by TPPs for VCDs
        dispensed to consumers (Retailers only produced the amounts paid by consumers).
        Presumably the Manufacturers also want this information. Retailers’ cost/profits data is
        necessary for the certified consumer unjust enrichment claims; recall that Retailers
        withheld that information but then claimed at class certification that this information was
        necessary to calculate unjust enrichment damages. Now is the time for Retailers to produce
        that information. Finally, Retailers should promptly produce previously-redacted
        identifying information for consumer class members (e.g., name, address, etc.), to facilitate
        the class notice process.

        The second area relates to targeted fact and expert discovery of Retailers. Plaintiffs will
        likely require Rule 30(b)(6) depositions with regard to the supplemental data noted above,
        and the claims that remain against the Retailers. Plaintiffs also believe the parties should
        confer about custodial discovery (documents and individual depositions) of Retailers,
        including search terms and custodians, with the parties to set forth their positions on same
        in joint or simultaneous submissions by May 10, 2023. After this targeted fact discovery,
        there may need to be limited expert discovery (viz., liability expert reports solely focused
        on Retailers). However, depending on how the Court intends to phase the subclass trials,
        it may not be necessary to engage in this discovery until a consumer subclass of claims
        against Retailers is queued for trial, as long as there is a plan for this to be accomplished
        without being pushed off too far.

    7. Wholesaler Discovery. As with Retailers, Plaintiffs envision the same two additional
       areas of discovery of Wholesaler Defendants. That is, Wholesalers also should produce
       forthwith their cost/profits data for VCDs (i.e., prices paid by Wholesalers to acquire
       VCDs, and prices at which Wholesalers sold VCDs downstream), which also was not
       previously produced but which Wholesalers (like Retailers) claim is necessary to class
       damages calculations. Plaintiffs also envision limited fact and expert discovery of
       Wholesalers, similar to that discussed above as to Retailers. Again, depending on how the
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        Court intends to phase the subclass trials, it may not be necessary to engage in this
        discovery until the Court queues for trial a consumer or TPP subclass of claims against
        Wholesalers.

        Wholesalers’ position appears to be that they wish to fully re-open discovery of Plaintiffs.
        This makes no sense. Wholesalers fully participated in fact discovery of Plaintiffs,
        including propounding written discovery and attending depositions. Notably, Retailers
        (who are in a similar boat to Wholesalers) agree that they do not need or seek any additional
        fact discovery of Plaintiffs. See Ex. C at 4.

    8. Losartan and Irbesartan Discovery. Plaintiffs propose they propound initial discovery
       requests relating to losartan and irbesartan, focused initially on discovery needed to support
       Plaintiffs’ filing for class certification on the economic loss claims related to those drugs,
       by May 17, 2023, and that Defendants substantially complete their productions to same in
       60 days, with depositions to follow.
 Plaintiffs look forward to discussing these matters with Your Honor.

  Respectfully submitted,

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 Encl.

 cc: all counsel (via ECF)
